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 6 Attorneys for Plaintiff

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:14-CR-00103-LJO-SKO
12                                Plaintiff,               JOINT STIPULATION TO EXCLUDE
                                                           TIME AND ORDER
13   v.
14   LUIS TEJEDA-HURTADO, ET AL,
15                                Defendants.
16

17          IT IS HEREBY STIPULATED by and between the government and Larry Duncan, and

18 Anthony Capozzi, his attorney, that time shall be excluded from the arraignment of May 30, 2014,

19 through the date of the status conference scheduled for August 4, 2014. The parties agree that the
20 delay resulting from the continuance shall be excluded under the Speedy Trial Act for defense

21 preparation and investigation, plea negotiations, and that the ends of justice served in granting such a

22 continuance outweigh the best interests of the public and defendant in a speedy trial.

23 IT IS SO STIPULATED.

24 DATED: May 30, 2014                     /s/ Melanie L. Alsworth
                                           MELANIE L. ALSWORTH
25                                         Assistant United States Attorney
26
     DATED: May 30, 2014                   /s/ Anthny Capozzi
27                                         ANTHONY CAPOZZI
                                           Attorney for Larry Duncan
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          Case 1:14-cr-00103-JLT-SKO Document 67 Filed 06/02/14 Page 2 of 2



 1                                      ORDER
 2
     IT IS SO ORDERED.
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 4     Dated:   June 2, 2014                   /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
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